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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
The Weinstein Company Holdings LLC, et al., 1                   : Case No. 18-10601 (MFW)
                                                                :
                  Debtors.                                      : (Jointly Administered)
                                                                :
-------------------------------------------------------------- x
                    NOTICE OF AGENDA FOR VIDEO HEARING
             SCHEDULED FOR JANUARY 25, 2021 AT 3:00 P.M. (ET) BEFORE
            THE HONORABLE MARY F. WALRATH, AT THE UNITED STATES
              BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


        THE REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM
         AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
                COURTCALL WILL NOT BE USED TO DIAL IN.

    PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THE HEARING:
https://debuscourts.zoomgov.com/meeting/register/vJItdOirrD0oHkHMIFksqOYMOv3u0
                                      FaHXxk

     ONCE REGISTERED, PARTIES WILL RECEIVE A CONFIRMATION EMAIL
      CONTAINING PERSONAL LOG-IN INFORMATION FOR THE HEARING.


I.       MATTER GOING FORWARD:

1.       Fifth Amended Joint Chapter 11 Plan of Liquidation [[SEALED] Docket No. N/A;
         [Redacted] Docket No. 3182 – filed January 20, 2021]

         Objection / Response Deadline:                  December 18, 2020 at 5:00 p.m. (ET)

         Objections / Responses Received:

         A.        United States’ Objection to the Fourth Amended Joint Chapter 11 Plan of
                   Liquidation [Docket No. 3143 – filed December 18, 2020]

1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York 10013.
Due to the large number of Debtors in these cases, which are being jointly administered for procedural purposes only, a
complete list of the Debtors and the last four digits of their federal tax identification numbers are not provided herein. A
complete list of this information may be obtained on the website of the Debtors’ noticing and claims agent at
http://dm.epiq11.com/twc.



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         B.        Objection of Sartraco, Inc. to Debtors’ Proposed Plan of Reorganization [Docket
                   No. 3144 – filed December 18, 2020]

         C.        Non-Settling Sexual Misconduct Claimants’ Objection to Fourth Amended
                   Chapter 11 Plan of Liquidation [Docket No. 3145 – filed December 18, 2020] (the
                   “David Claimants’ Objection”)

         Related Documents:

         i.        [SEALED] Joint Chapter 11 Plan of Liquidation [Docket No. 2855 – filed June
                   30, 2020]

         ii.       [Redacted] Joint Chapter 11 Plan of Liquidation [Docket No. 2856 – filed June
                   30, 2020]

         iii.      Disclosure Statement in Support of Joint Chapter 11 Plan of Liquidation Proposed
                   by Debtors and Official Committee of Unsecured Creditors [Docket No. 2858 –
                   filed June 30, 2020]

         iv.       [SEALED] The Debtors’ First Amended Chapter 11 Plan of Liquidation [Docket
                   No. 2951 – filed September 1, 2020]

         v.        [Redacted] The Debtors’ First Amended Chapter 11 Plan of Liquidation [Docket
                   No. 2952 – filed September 1, 2020]

         vi.       First Amended Disclosure Statement in Support of the Debtors’ First Amended
                   Chapter 11 Plan of Liquidation [Docket No. 2953 – filed September 1, 2020]

         vii.      Notice of Filing of Blacklines of First Amended Plan and Disclosure Statement
                   [Docket No. 2954 – filed September 1, 2020]

         viii.     [SEALED] Second Amended Joint Chapter 11 Plan of Liquidation [Docket No.
                   2993 – filed October 1, 2020]

         ix.       [Redacted] Second Amended Joint Chapter 11 Plan of Liquidation [Docket No.
                   2994 – filed October 1, 2020]

         x.        [Redacted] Second Amended Disclosure Statement in Support of the Second
                   Amended Joint Chapter 11 Plan of Liquidation Proposed by the Debtors and
                   Official Committee of Unsecured Creditors [Docket No. 2995 – filed October 1,
                   2020]

         xi.       [SEALED] Second Amended Disclosure Statement in Support of the Second
                   Amended Joint Chapter 11 Plan of Liquidation Proposed by the Debtors and
                   Official Committee of Unsecured Creditors [Docket No. 2996 – filed October 1,
                   2020]




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         xii.      Notice of Filing of Blacklines of Second Amended Plan and Disclosure Statement
                   [Docket No. 2997 – filed October 1, 2020]

         xiii.     Notice of Filing of Plan Support Agreement [Docket No. 3040 – filed October 19,
                   2020]

         xiv.      [SEALED] Third Amended Joint Chapter 11 Plan of Liquidation [Docket No.
                   3066 – filed November 4, 2020]

         xv.       [Redacted] Third Amended Joint Chapter 11 Plan of Liquidation [Docket No.
                   3067 – filed November 4, 2020]

         xvi.      Notice of Filing of Blacklines of Third Amended Plan and Disclosure Statement
                   [Docket No. 3070 – filed November 4, 2020]

         xvii.     [SEALED] Third Amended Disclosure Statement in Support of the Third
                   Amended Joint Chapter 11 Plan of Liquidation Proposed by the Debtors and
                   Official Committee of Unsecured Creditors [Docket No. 3076 – filed November
                   4, 2020]

         xviii. [Redacted] Third Amended Disclosure Statement in Support of the Third
                Amended Joint Chapter 11 Plan of Liquidation Proposed by the Debtors and
                Official Committee of Unsecured Creditors [Docket No. 3077 – filed November
                4, 2020]

         xix.      [SEALED] Fourth Amended Joint Chapter 11 Plan of Liquidation [Docket No.
                   3095 – filed November 17, 2020

         xx.       [Redacted] Fourth Amended Joint Chapter 11 Plan of Liquidation [Docket No.
                   3096 – filed November 17, 2020]

         xxi.      [SEALED] Fourth Amended Disclosure Statement in Support of the Fourth
                   Amended Joint Chapter 11 Plan of Liquidation Proposed by the Debtors and
                   Official Committee of Unsecured Creditors [Docket No. 3097 – filed November
                   17, 2020]

         xxii.     [Redacted] Fourth Amended Disclosure Statement in Support of the Fourth
                   Amended Joint Chapter 11 Plan of Liquidation Proposed by the Debtors and
                   Official Committee of Unsecured Creditors [Docket No. 3098 – filed November
                   17, 2020]

         xxiii. Notice of Filing of Blacklines of Fourth Amended Plan and Disclosure Statement
                [Docket No. 3099 – filed November 17, 2020]

         xxiv. Order (A) Approving the Adequacy of the Disclosure Statement, (B) Approving
               Solicitation Procedures, (C) Setting Confirmation Hearing Date and Related
               Deadlines, (D) Estimating Certain Claims, and (E) Granting Related Relief
               [Docket No. 3101 – entered November 17, 2020]

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         xxv.      Notice of (A) Plan Confirmation Hearing, (B) Objection and Voting Deadlines,
                   and (C) Solicitation and Voting Procedures [Docket No. 3102 – filed November
                   18, 2020]

         xxvi. Order Approving Stipulated Confidentiality Agreement and Protected Order
               [Docket No. 3105 – entered November 20, 2020]

         xxvii. Notice of Filing of Plan Supplement [Docket No. 3120 – filed December 4, 2020]

         xxviii. Affidavit of Service of Solicitation Materials [Docket No. 3139 – filed December
                 17, 2020]

         xxix. Report of the Official Committee of Unsecured Creditors Concerning Sexual
               Misconduct Claims Ballots and Declaration of Debra I. Grassgreen in Support
               Thereof [Docket No. 3159 – filed January 7, 2021]

                   a.     [SEALED] Exhibits 1, 2 and 3 to Report of the Official Committee of
                          Unsecured Creditors Concerning Sexual Misconduct Claims Ballots and
                          Declaration of Debra I. Grassgreen in Support Thereof [Docket No. 3162–
                          filed January 8, 2021]

         xxx.      Declaration of Stephenie Kjontvedt on Behalf of Epiq Corporate Restructuring,
                   LLC Regarding Voting and Tabulation of Ballots Cast on the Fourth Amended
                   Joint Chapter 11 Plan of Liquidation [Docket No. 3160 – filed January 7, 2021]

         xxxi. Affidavit of Publication in The New York Post [Docket No. 3163 – filed January
               8, 2021]

         xxxii. Affidavit of Publication in The Hollywood Reporter [Docket No. 3164 – filed
                January 8, 2021]

         xxxiii. Affidavit of Publication in Variety [Docket No. 3165 – filed January 8, 2021]

         xxxiv. Notice of Adjourned Confirmation Hearing [Docket No. 3169 – filed January 11,
                2021]

         xxxv. Notice of Filing of Blackline of Fifth Amended Plan [Docket No. 3183 – filed
               January 20, 2021]

         xxxvi. Debtors’ and Official Committee of Unsecured Creditors’ Joint (I) Memorandum
                of Law in Support of Confirmation of the Fifth Amended Joint Chapter 11 Plan of
                Liquidation of The Weinstein Company Holdings, LLC et al. and (II) Omnibus
                Reply to Confirmation Objections [Docket No. 3184 – filed January 20, 2021]

        xxxvii. Declaration of Ivona Smith in Support of Fifth Amended Chapter 11 Plan of
                Liquidation [Docket No. 3185 – filed January 21, 2021]




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        xxxviii. Declaration of Kyle Herman in Support of Confirmation of Fifth Amended Joint
                 Chapter 11 Plan of Liquidation [Docket No. 3186 – filed January 21, 2021]

         xxxix. Declaration of Robert Peck in Support of Fifth Amended Chapter 11 Plan of
                Liquidation [Docket No. 3187 – filed January 21, 2021]

         xl.       [SEALED] Declaration of David P. Schack in Support of Fifth Amended Chapter
                   11 Plan of Liquidation [Docket No. N/A – filed January 21, 2021]

         xli.      Declaration of Paul H. Zumbro in Support of Fifth Amended Chapter 11 Plan of
                   Liquidation [Docket No. 3189 – filed January 21, 2021]

         xlii.     Notice of Filing of Proposed Order Confirming Plan Proponents’ Fifth Amended
                   Chapter 11 Plan of Liquidation [Docket No. 3190 – filed January 21, 2021]

         xliii.    Declaration of Jane Sullivan on Behalf of Epiq Corporate Restructuring, LLC
                   Regarding Voting and Tabulation of Ballots Cast on the Fourth Amended Joint
                   Chapter 11 Plan of Liquidation [Docket No. 3191 –filed January 21, 2021]

         xliv.     [Redacted] Declaration of David P. Schack in Support of Fifth Amended Chapter
                   11 Plan of Liquidation [Docket No. 3193 – filed January 21, 2021]

         Witness Information:

         a.        The Debtors will rely on, and anticipate that they will move into evidence, the
                   declaration filed by Mr. Robert Peck, who will be appearing from Howell, NJ.

         b.        The Debtors will rely on, and anticipate that they will move into evidence, the
                   declaration filed by Ms. Ivona Smith, who will be appearing from Forest Hills,
                   NY.

         c.        The Debtors will rely on, and anticipate that they will move into evidence, the
                   declaration filed by Mr. Paul H. Zumbro, who will be appearing from New York,
                   NY.

         d.        The Debtors will rely on, and anticipate that they will move into evidence, the
                   declaration filed by Mr. David P. Schack, who will be appearing from Malibu,
                   CA.

         e.        The Debtors will rely on, and anticipate that they will move into evidence, the
                   declaration filed by Mr. Kyle Herman, who will be appearing from Houston, TX.

         f.        The Debtors will rely on, and anticipate that they will move into evidence, the
                   declaration filed by Ms. Jane Sullivan, who will be appearing from Westchester,
                   NY.

         Status: The Debtors will rely on, and anticipate that they will move into evidence, the
                 declarations filed by Mr. Peck, Ms. Smith, Mr. Zumbro, Mr. Schack, Mr. Herman


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                   and Ms. Sullivan. Except for the David Claimants’ Objection, the Debtors
                   believe that all other objections have been resolved. The hearing on this matter
                   will go forward.


Dated: January 21, 2021
Wilmington, Delaware
                                        /s/ David T. Queroli
                                        RICHARDS, LAYTON & FINGER, P.A.
                                        Mark D. Collins (No. 2981)
                                        Paul N. Heath (No. 3704)
                                        Zachary I. Shapiro (No. 5103)
                                        Brett M. Haywood (No. 6166)
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                                        - and -

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                                        Attorneys for the Debtors and Debtors in Possession




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